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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT
 __________________________________
 JAKUB MADEJ
                                                     CIVIL ACTION No. 3:20-cv-00133-JCH
        Plaintiff,

 v.
                                                     JURY TRIAL DEMANDED
 YALE UNIVERSITY, MARK SCHENKER
 JESSIE ROYCE HILL, MARVIN CHUN,
                                                     MAY 22, 2020
 PETER SALOVEY

        Defendants.

 __________________________________


      PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO ANSWER DEFENDANTS’
                         MOTION TO DISMISS (DKT. 90)


       Pursuant to Local Rule 7(b), plaintiff Jakub Madej moves for a thirty (30) days’ extension

of time, up to and including June 22, 2020, to respond to Defendants’ Motion to Dismiss. Dkt. 90.

       Defendants have effectively bifurcated their motions (i) to dismiss, and (ii) to stay

discovery. Dkts. 90; 94, 96. In light of defendants’ numerous filings concerning the stay of

discovery, the bifurcation appears to be justified. Defense counsel requested an expedited hearing

on motion to stay discovery. The Court scheduled a telephonic conference on that matter for May

28, 2020 at 12:00pm ET.

       Defense counsel has not responded to any of plaintiff’s numerous phone calls inquiring

about defendants’ position with respect to this motion. This is plaintiff’s first motion for extension

of time with respect to defendants’ motion to dismiss, and second motion for extension of time in

this matter.
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Dated: May 22, 2020 in Truth or Consequences, NM.



                                              Respectfully submitted,
                                              /s/ Jakub Madej

                                              Jakub Madej
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                             CERTIFICATE OF CONFERENCE
       I certify under penalty of perjury that, on May 22, 2020, I attempted to confer with
attorney of record Patrick M. Noonan via telephone, using both numbers listed below. None of
my multiple phone calls was successful.
       I further state under penalty of perjury that I have never met Mr. Noonan in person, despite
my recurring willingness to arrange a joint meeting. I last spoke with Mr. Noonan via telephone
on March 5, 2020. Mr. Noonan has refused to speak after that date, or in the last 2.5 months.
Attorney Noonan never offered a reason why he refuses to meet, or to accept my phone calls. He
never made a statement to me anyhow addressing his reluctance to properly confer.
               Patrick M. Noonan, Esq.
               DONAHUE, DURHAM & NOONAN PC
               Tel: (203) 457-5209
               Tel: (203) 314-4562


                                                                    /s/ Jakub Madej
